Case 2:16-cv-10304-AJT-RSW ECF No. 43-7, PagelD.463 Filed 05/11/16 Page 1 of 3

EXHIBIT F
Case 2:16-cv-10304-AJT-RSW ECF No. 43-7, PagelD.464 Filed 05/11/16 Page 2 of 3

Regina Caeli Academy Connecticut

June 5, 2015 -

Want to work for the best group of students in CT? See below! Regina Caeli Academy
(www.rcahybrid.org), a home school resource center in the Catholic tradition, seeks part-time
tutors for the 2015-2016 year. Located in Wilton, CT, RCA offers tutoring in a Socratic
classroom setting on Mondays and Thursdays. The positions are salaried, and child care is
provided!

Requirements include a love of learning and an Oath of Fidelity to the Catholic Church.

We seek tutors for both the 1st/2nd grade and the 6th grade. Please send your resume and a cover
letter to Erika Ahern at eahern@rcahybrid.or

   
Case 2:16-cv-10304-AJT-RSW ECF No. 43-7, PagelD.465 Filed 05/11/16 Page 3 of 3

Regina Caeli Academy Connecticut

November 26, 2014 -

Regina Caeli Academy in Wilton, CT, seeks nursery assistant for January -May 2015. This is a
part-time, hourly position that begins [August 18 at our campus on Danbury Road. The main
requirements are a love of infants and an Oath of Fidelity to the Catholic Church.

Regina Caeli meets Mondays and Thursdays only from 8:00am - 3:30pm. $10/hour.

For more information, contact Karen D'Anselmi at kdanselmi.fec@rcahybrid.org and visit our
website: rcahybrid.org

Top of Form

 

Regina Caeli Academy Connecticut

September 3, 2014 -

Reposting!

Two opportunities for part-time work in Bristol . . .

Regina Caeli Academy in Bristol, CT, is seeking a Nursery/Preschool Assistant for the 2014-
2015 academic year. This is a part-time, hourly position that begins August 18th. The main
requirements are a love of infants and young children and an Oath of Fidelity to the Catholic
Church.

Regina Caeli meets Mondays and Thursdays only from 8:00am - 3:30pm. $10/hour. ...

For more information, contact Mary Liquori at mliquori.har@rcahybrid.org and visit our
website: rcahybrid.org

Regina Caeli Academy in Bristol, CT, is seeking a High School religion, writing, and history
tutor for the 2014-2015 academic year. This is a part-time, salaried position that begins as soon
as possible. The main requirements are a love of learning, a desire to serve, a Bachelor's degree,
and an Oath of Fidelity to the Catholic Church.

Regina Caeli meets Mondays and Thursdays only from 8:00am - 3:30pm.

For more information, contact Mary Liquori at mliquori.har@rcahybrid.org and visit our
website: rcahybrid.org

See More

 

 

 
